Case 4:18-mj-00053-FHM Document 1 Filed in USDC ND/OK on 04/17/18 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )     Case No. 18-mj-53-FHM
                                           )
KYLE THOMAS SMITH,                         )
                                           )
                     Defendant.            )
                                           )

                             MOTION FOR DETENTION

       COMES NOW the United States of America, pursuant to 18 U.S.C. § 3142(e), and

hereby requests that the Court detain the defendant pending trial.

                                          Respectfully submitted,

                                          R. TRENT SHORES
                                          UNITED STATES ATTORNEY


                                          /s/ Richard M. Cella
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